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                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                    GALVESTON DIVISION

 ROYAL HOSPITALITY CORP.,                         §
                                                  §
       Plaintiff,                                 §
                                                  §
 vs.                                              §    CIVIL ACTION NO. 3:18-CV-00102
                                                  §
 UNDERWRITERS AT LLOYD’S                          §    JURY REQUESTED
 LONDON SUBSCRIBING TO POLICY                     §
 NUMBER W1E467190101,                             §
 BEAZLEY LLOYD’S SYNIDCATE 2623,                  §
 BEAZLEY LLOYD’S SYNIDCATE 623,                   §
 LIBERTY SURPLUS INSRUANCE                        §
 CORPORATION, HALLMARK                            §
 SPECIALTY INSURANCE COMPANY,                     §
 UNDERWRITERS AT LLOYD’S                          §
 LONDON SUBSCRIBING TO POLICY                     §
 NUMBER 93PRX17EEF8, LLOYD’S OF                   §
 LONDON NOVAE 2007 SYNDICATE,                     §
 AND HOMELAND INSURANCE                           §
 COMPANY OF NEW YORK,                             §
                                                  §
       Defendants.

          DEFENDANT HOMELAND INSURANCE COMPANY OF NEW YORK’S
                 FIRST AMENDED ANSWER AND DEFENSES TO
                     PLAINTIFF’S ORIGINAL COMPLAINT

         Defendant Homeland Insurance Company of New York (“Homeland”) files its First

Amended Answer and Defenses to the Original Complaint filed by Plaintiff Royal Hospitality

Corp. (“Plaintiff”) and would respectfully show the Court as follows:

                                              ANSWER

                                                I.
                                           THE PARTIES
         1.         On information and belief, Homeland admits the allegations in Paragraph 1 of

Plaintiff’s Original Complaint except to state that Plaintiff is a citizen of Delaware and Georgia

for diversity jurisdiction purposes.

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       2.      On information and belief, Homeland admits the allegations in Paragraph 2 of

Plaintiff’s Original Complaint.

       3.      On information and belief, Homeland admits the allegations in Paragraph 3 of

Plaintiff’s Original Complaint.

       4.      On information and belief, Homeland admits the allegations in Paragraph 4 of

Plaintiff’s Original Complaint.

       5.      On information and belief, Homeland admits the allegations in Paragraph 5 of

Plaintiff’s Original Complaint.

       6.      On information and belief, Homeland admits the allegations in Paragraph 6 of

Plaintiff’s Original Complaint.

       7.      On information and belief, Homeland admits the allegations in Paragraph 7 of

Plaintiff’s Original Complaint.

       8.      On information and belief, Homeland admits the allegations in Paragraph 8 of

Plaintiff’s Original Complaint.

       9.      Homeland admits that it was properly served in this lawsuit. Homeland denies the

remaining allegations in Paragraph 9 of Plaintiff’s Original Complaint.

                                             II.
                                  JURISDICTION AND VENUE
       10.     The jurisdictional-related allegations in Paragraph 10 of Plaintiff’s Original

Complaint are legal conclusions and require no response from Homeland. To the extent a response

is required, Homeland states this Court has subject matter jurisdiction over this controversy under

28 U.S.C. § 1332 because the amount in controversy exceeds the jurisdictional limit of this Court.

       11.     The venue-related allegations in Paragraph 11 of Plaintiff’s Original Complaint are

legal conclusions and require no response from Homeland.


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                                           III.
                                  FACTUAL BACKGROUND
       12.     Homeland admits the allegations in Paragraph 12 of Plaintiff’s Original Complaint.

       13.     Homeland admits that the Homeland Insurance Company of New York, Policy No.

795-00-58-84-0000 speaks for itself as to the terms, conditions, limitation, and exclusions

applicable to the coverage provided by the Policy. Homeland lacks sufficient knowledge or

information as to the truth of the remaining allegations in Paragraph 13 of Plaintiff’s Original

Complaint and therefore denies the remaining allegations in Paragraph 13 of Plaintiff’s Original

Complaint.

       14.     Answering Paragraph 14 of Plaintiff’s Original Complaint, Homeland admits that

that Hurricane Harvey hit certain coastal areas of Texas in August 2017. Homeland further admits

that certain properties insured by the applicable policies (and subject to each’s terms, conditions,

limitations, exclusions, and/or deductibles) issued by Defendants sustained some damage.

Homeland denies all remaining allegations in Paragraph 14 of Plaintiff’s Original Complaint.

       15.     Answering Paragraph 15 of Plaintiff’s Original Complaint, Homeland admits

Plaintiff submitted a claim for damages to certain properties allegedly caused by Hurricane

Harvey. Homeland denies all remaining allegations in Paragraph 15 of Plaintiff’s Original

Complaint.

       16.     Answering Paragraph 16 of Plaintiff’s Original Complaint, Homeland admits that

Plaintiff submitted a claim for damages to certain properties allegedly caused by Hurricane

Harvey. Homeland denies all remaining allegations in Paragraph 16 of Plaintiff’s Original

Complaint.




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       17.     Answering Paragraph 17 of Plaintiff’s Original Complaint, Homeland admits that

it has not issued any payment for the claim submitted by Plaintiff. Homeland denies all remaining

allegations in Paragraph 17 of Plaintiff’s Original Complaint.

       18.     Answering Paragraph 18 of Plaintiff’s Original Complaint, Homeland admits that

McLarens was retained to inspect the properties made the basis of Plaintiff’s claim for coverage

under the policies issued by Defendants. Homeland denies all remaining allegations in Paragraph

18 of Plaintiff’s Original Complaint.

       19.     Homeland denies all allegations in Paragraph 19 of Plaintiff’s Original Complaint.

       20.     Homeland denies all allegations in Paragraph 20 of Plaintiff’s Original Complaint.

       21.     Answering Paragraph 21 of Plaintiff’s Original Complaint, Homeland admits

consultants inspected various properties. Homeland denies all remaining allegations in Paragraph

21 of Plaintiff’s Original Complaint.

       22.     Answering Paragraph 22 of Plaintiff’s Original Complaint, Homeland admits the

results of the engineering reports were part of the adjustment process. Homeland denies all

remaining allegations in Paragraph 22 of Plaintiff’s Original Complaint.

       23.     Answering Paragraph 23 of Plaintiff’s Original Complaint, Homeland admits that

the damages assessed as of January 2018 and at that point in the investigation fell below the

deductible in the applicable policies. Homeland denies all remaining allegations in Paragraph 23

of Plaintiff’s Original Complaint.

       24.     Homeland denies all allegations in Paragraph 24 of Plaintiff’s Original Complaint.

       25.     Homeland admits it has not paid any insurance proceeds to Plaintiff. Homeland

denies all remaining allegations in Paragraph 25 of Plaintiff’s Original Complaint.

       26.     Homeland denies all allegations in Paragraph 26 of Plaintiff’s Original Complaint.



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       27.     Homeland denies all allegations in Paragraph 27 of Plaintiff’s Original Complaint.

       28.     Homeland denies all allegations in Paragraph 28 of Plaintiff’s Original Complaint.

       29.     Homeland denies all allegations in Paragraph 29 of Plaintiff’s Original Complaint.

       30.     Homeland denies all allegations in Paragraph 30 of Plaintiff’s Original Complaint.

                                               IV.
                                             COUNTS
       31.     In response to Paragraph 31 of Plaintiff’s Original Complaint, Homeland

incorporates and re-alleges its responses to the foregoing paragraphs of Plaintiff’s Original

Complaint as though set forth in full herein.

A.     Breach of Contract
       32.     Answering Paragraph 32 of Plaintiff’s Original Complaint, Homeland admits it

issued Homeland Insurance Company of New York, Policy No. 795-00-58-84-0000 to Plaintiff

subject to terms, conditions, limitations, and exclusions contained in the policy. Homeland denies

all remaining allegations in Paragraph 32 of Plaintiff’s Original Complaint.

B.     Prompt Payment of Claims Statute
       33.     Homeland denies all allegations in Paragraph 33 of Plaintiff’s Original Complaint.

       34.     Homeland denies all allegations in Paragraph 34 of Plaintiff’s Original Complaint.

C.     Bad Faith/Deceptive Trade Practices Act (“DTPA”)
       35.     Homeland admits the allegations in Paragraph 35 of Plaintiff’s Original Complaint.

By way of further response, Homeland acted in compliance with Chapter 541 of the Texas

Insurance Code throughout the investigation of Plaintiff’s claim.

       36.     Homeland denies all allegations in Paragraph 36 of Plaintiff’s Original Complaint.

               (1)     Homeland denies all allegations in Paragraph 36(1) of Plaintiff’s Original

                       Complaint.



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       37.     Homeland denies all allegations in Paragraph 37 of Plaintiff’s Original Complaint.

               (1)     Homeland denies all allegations in Paragraph 37(1) of Plaintiff’s Original

                       Complaint.


               (2)     Homeland denies all allegations in Paragraph 37(2) of Plaintiff’s Original

                       Complaint.


               (3)     Homeland denies all allegations in Paragraph 37(3) of Plaintiff’s Original

                       Complaint.


               (4)     Homeland denies all allegations in Paragraph 37(4) of Plaintiff’s Original

                       Complaint.


               (5)     Homeland denies all allegations in Paragraph 37(5) of Plaintiff’s Original

                       Complaint.


       38.     Homeland denies all allegations in Paragraph 38 of Plaintiff’s Original Complaint.

               (1)     Homeland denies all allegations in Paragraph 38(1) of Plaintiff’s Original

                       Complaint.


               (2)     Homeland denies all allegations in Paragraph 38(2) of Plaintiff’s Original

                       Complaint.


       39.     Homeland denies all allegations in Paragraph 39 of Plaintiff’s Original Complaint.

                                          V.
                                 CONDITIONS PRECEDENT
       40.     Homeland denies all allegations in Paragraph 40 of Plaintiff’s Original Complaint.

By way of further response, discovery in this matter is ongoing, and Homeland reserves the right



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to assert that Plaintiff has failed to meet conditions precedent required under Texas statute, Texas

law, and/or Homeland Insurance Company of New York Policy Number 795-00-58-84-000.

                                             VI.
                                           DAMAGES
       41.     Homeland denies all allegations in Paragraph 41 of Plaintiff’s Original Complaint.

       42.     Homeland denies all allegations in Paragraph 42 of Plaintiff’s Original Complaint.

       43.     Homeland denies all allegations in Paragraph 43 of Plaintiff’s Original Complaint.

By way of further response, Homeland specifically denies that Plaintiff is entitled to any of the

damages sought in Plaintiff’s Original Complaint.

       44.     Homeland denies all allegations in Paragraph 44 of Plaintiff’s Original Complaint.

By way of further response, Homeland specifically denies that Plaintiff is entitled to any of the

damages sought in Plaintiff’s Original Complaint.

       45.     Homeland denies all allegations in Paragraph 45 of Plaintiff’s Original Complaint.

By way of further response, Homeland specifically denies that Plaintiff is entitled to any of the

damages sought in Plaintiff’s Original Complaint.

                                           VII.
                                      ATTORNEYS’ FEES
       46.     Homeland denies all allegations in Paragraph 46 of Plaintiff’s Original Complaint.

By way of further response, Homeland specifically denies that Plaintiff is entitled to any of the

damages sought in Plaintiff’s Original Complaint.

       47.     Homeland denies all allegations in Paragraph 47 of Plaintiff’s Original Complaint.

By way of further response, Homeland specifically denies that Plaintiff is entitled to any of the

damages sought in Plaintiff’s Original Complaint.




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       48.       Homeland denies all allegations in Paragraph 48 of Plaintiff’s Original Complaint.

By way of further response, Homeland specifically denies that Plaintiff is entitled to any of the

damages sought in Plaintiff’s Original Complaint.

                                              VII. [sic]
                                              PRAYER
       49.       Homeland denies all allegations in the un-numbered prayer for relief set forth at

page 11, Section VII [sic], of Plaintiff’s Original Complaint. By way of further response,

Homeland specifically denies that Plaintiff is entitled to any judgment against Homeland in this

matter and/or the recovery of any alleged damages, attorney’s fees or interest described in the un-

numbered prayer for relief set forth at page 11 of Plaintiff’s Original Complaint.

                                             DEFENSES

                                            First Defense
       50.       Plaintiff’s claims are subject to all of the terms, conditions, limitations, and

exclusions contained in the Homeland Insurance Company of New York, Policy No. 795-00-58-

84-0000 (the “Policy”).

                                           Second Defense
       51.       Plaintiff’s claims are barred, in whole or in part, to the extent the physical loss or

damage claimed under the Policy was pre-existing and/or did not occur within the applicable

Policy period.

                                            Third Defense
       52.       The amount recoverable for Plaintiff’s claims is limited by the Policy’s Excess

Limit of Liability and Participation to each “loss occurrence” by which the total limit of recovery

in any one “loss occurrence” shall not exceed the lesser of the actual adjusted amount of loss less

the “underlying limits,” the reported values for each site of insurance involved and insured at a



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Covered Excess Location less the “underlying limits,” the interest of the Insured less the

“underlying limits,” or the Excess Limit of Liability and Participation shown in the Declarations.

                                          Fourth Defense
       53.     Plaintiff’s claims are barred, in whole or in part, to the extent there is other

insurance covering the same loss or damage wherefore Homeland will pay only the amount of

covered loss or damage in excess of the amount due from that other insurance.

                                           Fifth Defense
       54.     Plaintiff’s claims are barred, in whole or in part, to the extent the damage is not in

excess of the “underlying insurance” limit in any “one loss occurrence.”

                                           Sixth Defense
       55.     Plaintiff’s claims are barred, in whole or in part, to the extent any damage was not

caused by or resulting from a covered cause of loss.

                                          Seventh Defense
       56.     Plaintiff’s claims are barred, in whole or in part, by the Policy’s exclusion of loss

caused directly or indirectly by, or resulting from water, including but not limited to, flood or water

that backs up or overflows or is otherwise discharged from a sewer, drain, sump, sump pump or

related equipment. The exclusion in the Policy provides as follows:

V. EXCLUSIONS

This Policy does not insure against loss or damage caused directly or indirectly by or resulting
from any of the following. Except as otherwise specifically stated, these exclusions apply to and
limit or bar coverage under this Policy for loss or damage that may be covered by “underlying
insurance”. Such loss or damage is excluded regardless of any other peril, cause or event
contributing concurrently or in an y sequence to the loss. Such loss or damage is also excluded
regardless of whether the event is caused by an act of nature , due to a man-made cause, due to
an artificial cause or is otherwise caused; occurred suddenly or gradually; involved isolated or
widespread damage; or occurred as a result of any combination of the following.

                                                ***

K. Water

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   1. Flood, surface water, waves (including tidal wave and tsunami), tides, tidal water,
      overflow of any body of water, or spray from any of these, all whether or not driven
      by wind (including storm surge);
   2. Mudslide or mudflow;
   3. Water, or other material, that backs up or overflows or is otherwise discharged from
      a sewer, drain, sump, sump pump or related equipment;
   4. Water under the ground surface pressing on, or flowing or seeping through:
      a. Foundations, walls, floors or paved surfaces;
      b. Basements, whether paved or not; or
      c. Doors, windows or other openings; or
   5. Waterborne material carried or otherwise moved by any of the water referred to in
      Paragraph K.1., K.3. or K.4., or material carried or otherwise moved by mudslide
      or mudflow.

   As noted above, this exclusion applies regardless of whether any of the above, in
   Paragraphs K.1. through K.5., is caused by an act of nature or is otherwise caused. An
   example of a situation to which this exclusion applies is the situation where a dam, levee,
   seawall or other boundary or containment system fails in whole or in part, for any reason,
   to contain the water.

                                          Eighth Defense
       57.     Plaintiff’s claims are barred, in whole or in part, by the Policy’s exclusion for loss

or damage caused directly or indirectly by or resulting from a “named storm” and all weather

phenomena associated with or occurring in conjunction with a “named storm”, including but not

limited to, rain, flood, wind, wind gusts, hurricanes, or tropical storms or lightning, to covered

property listed in the Policy’s Schedule of Tier 1 Counties and Parishes.              Those counties

specifically include: Aransas, Brazoria, Calhoun, Cameron, Chambers, Galveston, Harris,

Jackson, Jefferson, Kenedy, Kleburg, Liberty, Matagorda, Newton, Nueces, Orange, Refugio, San

Patricio, Victoria, Willacy. Specifically, the Policy provides as follows:

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

             NAMED STORM EXCLUSION FOR HAZARD ZONE LOCATIONS

This endorsement modifies insurance provided under the following:

EXCESS PROPERTY POLICY – FOLLOWING FORM

A. The following exclusion is added to the EXCLUSIONS Section:


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Named Storm

“Named storm” and all weather phenomena associated with or occurring in conjunction with
a “named storm”, including rain, “flood", wind, wind gusts, snow, hail, sleet, tornadoes,
cyclones, hurricanes, tropical storms or lightning.

This exclusion applies to loss or damage which occurs in any of the following counties or parishes:

See OBSP 103 04 16 Schedule of Tier 1 Counties and Parishes.

B. The following definition is added to the DEFINITIONS Section:

“Named storm” means a storm system that has been identified as a tropical storm or
hurricane and assigned a name by the National Hurricane Center or the Central Pacific Hurricane
Center of the National Weather Service.

       ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED

                                           Ninth Defense
       58.     Plaintiff’s claims are barred, in whole or in part, by the Policy’s exclusion for the

enforcement of, or compliance with, any ordinance or law regulating the construction, use or repair

of any property, or requiring the tearing down of any property, in whole or in part, including the

cost of removing its debris.


                                           Tenth Defense
       59.     Plaintiff’s claims are barred, in whole or in part, to the extent Plaintiff failed to

mitigate its claimed damage.

                                         Eleventh Defense
       60.     Plaintiff’s claims are barred, in whole or in part, by the equitable doctrines of

laches, estoppel, waiver, and unclean hands.

                                          Twelfth Defense
       61.     Plaintiff’s claims may be subject to the appraisal provision in the Policy, which

applies in the event of any disagreement as to the amount of loss. Homeland specifically reserves

its rights under the appraisal provision of the Policy.


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                                         Thirteenth Defense

          62.     Notwithstanding the Policy’s “Named Storm” exclusion, a bona fide controversy

exists concerning the extent of Plaintiff’s entitlement to benefits under Defendants’ policies.

Homeland and its employees, agents, representatives, and adjusters are entitled to value claims

differently from Homeland’s policyholders without facing bad faith or extra-contractual liability.

Homeland would show that a bona fide controversy exists regarding the scope of any alleged

covered loss and the extent to which any asserted loss was the result of a covered occurrence to

covered property.

                                         Fourteenth Defense

          63.     Homeland pleads the terms, conditions, provisions, limitations, exclusions and

endorsements of the Policy as if copied herein in full and places Plaintiff on its full proof of any

allegations seeking to infer liability on behalf of any party by virtue of the existence of the Policy.


                                          Fifteenth Defense
          64.     Homeland also pleads the terms, conditions, provisions, limitations, exclusions and

endorsements of Beazley Policy No. W1E467170101, the Primary Policy, as if copied herein in

full.

                                          Sixteenth Defense

          65.     Notwithstanding the Policy’s “Named Storm” exclusion, the Policy’s insuring

agreement provides as follows:

                     EXCESS PROPERTY POLICY – FOLLOWING FORM
I. INSURING AGREEMENT

        A. In consideration of the premium shown in the Declarations and subject to the terms,
           conditions, limitations and exclusions in this Policy, this Company will indemnify the
           Insured for the Insured's “ultimate net loss” in excess of the “underlying limits” which
           are paid or agreed to be paid by all “underlying insurer(s)”.


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    B. This Company will be liable only after all “underlying insurer(s)” have paid or
       agreed to pay the full amount of the “underlying limits” exclusively for loss or
       damage to “covered property”. In no event will the coverage provided under this
       Policy attach at an amount less than the “underlying limits”. Payment for or
       agreement to pay for loss or damage to property other than “covered property” will
       not erode or exhaust the “underlying limits” for purposes of determining the
       amounts owed under this Policy.

    C. The insurance provided by this Policy will be subject to the same terms, conditions,
       limitations and exclusions as the property coverage provided under the “primary
       underlying insurance”, except for the limits of liability, any amount due under this
       Policy, any renewal agreement or cancellation provision, any obligation to investigate
       or defend, and except as provided elsewhere in this Policy. In no event will this Policy
       provide coverage for loss or damage to property insured by any “underlying
       insurance” that is not “covered property” nor will this Company indemnify the
       Insured for any loss, damage or perils not insured under this Policy.

    D. Coverage provided under this Policy will not be broader than that provided by the
       “underlying insurance”. If the terms, conditions, limitations or exclusions in this
       Policy are more restrictive than those of the “primary underlying insurance”, the more
       restrictive provisions of this Policy will apply.


                                       Seventeenth Defense
       66.     Notwithstanding the Policy’s “Named Storm” exclusion, the Policy’s insuring

agreement provides as follows:

III. LIMITS OF LIABILITY
     A. Excess Limit of Liability and Participation

        1.     This Policy’s limit of liability in any one “loss occurrence” is the Excess Limit
               of Liability shown in the Declarations. Upon exhaustion of the “underlying
               limits”, and subject to the terms, conditions, limitations and exclusions of this
               Policy, this Company will be liable for its Excess Participation shown in the
               Declarations of the “ultimate net loss” to the Insured that is excess of the
               “underlying limits” up to the Excess Limit of Liability shown in the Declarations.


         2.    The Excess Limit of Liability and Participation shown in the Declarations is the
               total limit of this Company’s liability applicable to each “loss occurrence”.
               Notwithstanding any other terms and conditions of this Policy, in no event will
               the liability of this Company exceed this limit regardless of the number or type of
               coverages, property or locations involved or affected.

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               Subject to the paragraph above, the total limit of recovery in any one “loss
               occurrence” under this Policy will not exceed the lesser of the following:
               a.     The actual adjusted amount of loss less the “underlying limits”;
               b.     The reported values for each item of insurance involved and insured at a
                      Covered Excess Location shown in the Declarations, less the “underlying
                      limits”. If no value, item or location is reported to this Company then there
                      is no coverage;
               c.     The interest of the Insured less the “underlying limits”; or
               d.     The Excess Limit of Liability and Participation shown in the Declarations.

                                       Eighteenth Defense
       67.     The “Fungus, Wet Rot, Dry Rot or Bacteria Exclusion” in the Policy precludes

coverage, in whole or in part, for the damages sought by Plaintiff. The Policy states:

V. EXCLUSIONS

   This Policy does not insure against loss or damage caused directly or indirectly by or resulting
   from any of the following. Except as otherwise specifically stated, these exclusions apply to
   and limit or bar coverage under this Policy for loss or damage that may be covered by
   “underlying insurance”. Such loss or damage is excluded regardless of any other peril, cause
   or event contributing concurrently or in an y sequence to the loss. Such loss or damage is also
   excluded regardless of whether the event is caused by an act of nature , due to a man-made
   cause, due to an artificial cause or is otherwise caused; occurred suddenly or gradually;
   involved isolated or widespread damage; or occurred as a result of any combination of the
   following.

                                                ***
   H. Fungus, Wet Rot, Dry Rot, Virus or Bacteria

      Actual or threatened existence, growth, presence , transmission, migration, dispersal or any
      activity of “fungus”, wet rot, dry rot, virus or bacteria. This Policy does not cover the costs
      or expenses of removal, disposal, decontamination or replacement of “covered property”
      which has been contaminated by s or bacteria.

                                       Nineteenth Defense
       68.     The “Fungus, Wet Rot, Dry Rot or Bacteria Exclusion” in the Policy precludes

coverage, in whole or in part, for the damages sought by Plaintiff. The Policy states:

V. EXCLUSIONS

   This Policy does not insure against loss or damage caused directly or indirectly by or resulting
   from any of the following. Except as otherwise specifically stated, these exclusions apply to
   and limit or bar coverage under this Policy for loss or damage that may be covered by
   “underlying insurance”. Such loss or damage is excluded regardless of any other peril, cause

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   or event contributing concurrently or in an y sequence to the loss. Such loss or damage is also
   excluded regardless of whether the event is caused by an act of nature , due to a man-made
   cause, due to an artificial cause or is otherwise caused; occurred suddenly or gradually;
   involved isolated or widespread damage; or occurred as a result of any combination of the
   following.

                                                  ***
   Ordinance or Law
   The enforcement of or compliance with any ordinance or law:
   1. Regulating the construction, use or repair of any property; or
   2. Requiring the tearing down of any property, in whole or part, including the cost of removing
      its debris.
   This exclusion, Ordinance or Law, applies whether the loss results from:
         a. An ordinance or law that is enforced even if the property has not been damaged; or
         b. The increased costs incurred to comply with an ordinance or law in the course of
            construction, repair, renovation, remodeling or demolition of property, or removal of
            its debris, following a physical loss to that property.

                                          Twentieth Defense
         69.     Coverage for the damages sought by Plaintiff are precluded, in whole or in part, based

upon Plaintiff’s violation of the following Policy conditions:

 E. DUTIES IN THE EVENT OF LOSS OR DAMAGE
                                               ***
    h. Cooperate with this Company in the investigation or settlement of the claim.
                                                    ***
                                        Twenty-first Defense
         70.     To the extent applicable to damages sought by Plaintiff, the Policy excludes the

following:

IV. COVERAGE LIMITATIONS

    A.         In no event will this Company indemnify any Insured for the following:
               1. Asbestos removal, unless the asbestos is itself damaged by fire; lightning;
                  explosion; windstorm or hail; smoke; aircraft or vehicle impact; riot or civil
                  commotion; vandalism; malicious mischief; or leakage or accidental discharge
                  from an automatic fire protective system. In no event will this Company


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                indemnify any Insured for the removal of asbestos from land or water or
                locations other than the Covered Excess Locations shown in the Declarations.
             2. Demolition or increased cost of reconstruction, repair or debris removal
                necessitated by the enforcement of any law or ordinance regulating asbestos
                removal; or
             3. Any governmental direction or request declaring that asbestos present in or part
                of or utilized on any undamaged portion of the Insured’s property can no longer
                be used for which it was intended or installed and must be removed or modified;
                including any resulting time element loss, such as business income loss, incurred
                extra expense or loss of rents.

                                     Twenty-second Defense
       71.     Plaintiff’s claimed damages are further precluded, in whole or in part, by the

following general exclusions contained in the underlying Primary Policy:

                A.     Unless specifically stated elsewhere in this Policy, this Policy excludes:
                       1)      indirect or remote loss or damage;
                       2)      interruption of business;
                       3)      loss of market or loss of use;
                       4)      loss or damage or deterioration arising from any delay;


                                              ***
                       9)     loss, damage, cost or expense of whatsoever nature,
                              directly or indirectly caused by, resulting from or in
                              connection with any of the following regardless of
                              any other cause or event, whether or not insured
                              under this Policy, contributing concurrently or in
                              any other sequence to the loss:
                                        ***
                               i)      lack of the following services:
                                      i)      incoming electricity, fuel, water, gas, steam,
                                              refrigerant;
                                      ii)     outgoing sewerage; and/or
                                      iii)    incoming or outgoing voice, data or
                                              video all when caused by an Occurrence
                                              off the Insured Location.

                                      Twenty-third Defense

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       72.     Plaintiff’s claimed damages are further precluded, in whole or in part, by the

following additional general exclusions contained in the underlying Primary Policy:

               B.      This Policy excludes the following, but, if direct physical
                       loss or physical damage not excluded by this Policy results,
                       then only such resulting damage is insured:
                       1)      faulty workmanship, material, construction or design from any
                               cause.
                       2)      loss or damage to stock or material attributable to
                               manufacturing or processing operations while such
                               stock or material is being processed, manufactured,
                               tested, or otherwise worked on.
                       3)      deterioration, depletion, rust, corrosion or erosion,
                               wear and tear, inherent vice or latent defect.
                       4)      settling, cracking, shrinking, bulging, or expansion of:
                               a)      foundations (including any pedestal, pad,
                                       platform or other property supporting
                                       machinery).
                               b)      floors.
                               c)      pavements.
                               d)      walls.
                               e)      ceilings.
                               f)      roofs.
                       5)      a)      changes of temperature damage (except to
                                       machinery or equipment); or
                               b)     changes in relative humidity damage, all whether
                                      atmospheric or not.
                                                       ***
                                      Twenty-fourth Defense
       73.     Plaintiff’s claimed damages are further precluded, in whole or in part, or limited,

by the Prior Loss Clause Endorsement of the Primary Policy, which provides as follows:

       Notwithstanding any provision to the contrary applicable to this Policy, this
       Policy does not insure against the following:




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       1.    any loss, damage or expense that existed prior to the inception of this Policy,
             which has been damaged and not since been fully repaired;
       2.    any loss, damage, or expense that may occur due to any repairs or work that
             takes place on said insured property;
       3.    any loss, damage, or expense that would not have occurred if repairs to
             previously damaged property had been fully completed.
                                        Twenty-fifth Defense
       74.     Plaintiff’s claims against Homeland with respect to any investigation, adjusting or

handling of Plaintiff’s claim, including any and all extra-contractual claims and any alleged

violation of the Texas Insurance Code fails because Homeland is an excess insurer and has no duty

to investigate or adjust Plaintiff’s claim until the limits of the underlying Primary Policy are

exhausted and paid.

                                       Twenty-sixth Defense

       75.     The imposition of punitive damages in this case would violate the Due Process

Clause of the Fourteenth Amendment to the United States Constitution.

                                      Twenty-seventh Defense

       76.     Pleading in the alternative, to the extent that any property damage was owed or

Homeland was determined to have any duty to investigate or adjust Plaintiff’s claim, Homeland’s

ability to adjust the claim was prejudiced by Plaintiff's intentional destruction of relevant evidence,

including but not limited to portions of the property locations at issue.

                                      Twenty-eighth Defense

       77.     Plaintiff has failed to fully comply with policy terms and provisions, including but

not limited to failing to separate damage in existence before the inception of the Primary Policy and

the Policy from the property damaged during Hurricane Harvey, if any.




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                                       Twenty-ninth Defense

       78.     As of the filing of this Answer, Plaintiff has failed to provide detailed and itemized

estimates or invoices setting forth the scope of demolition and/or repairs for each specific claimed

property resulting from Hurricane Harvey.

                                         Thirtieth Defense

       79.     Plaintiff is barred or limited, in whole or in part, from recovering damages for extra-

contractual claims or attorneys’ fees because of Plaintiff’s excessive demand.

                                        Thirty-first Defense

       80.     Homeland reserves the right to assert additional defenses with respect to such losses

or damages as additional information becomes available or apparent as this litigation proceeds.

                                             PRAYER

       81.     Homeland prays that (i) Plaintiff’s claim for relief be denied in its entirety, (ii)

Plaintiff take nothing by its claims, and (iii) Homeland be granted such other and further relief to

which the Court may find it is justly entitled.

                                                  Respectfully submitted,

                                                  By:/s/ Brett A. Wallingford________
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                                 CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the above and foregoing has been served
this 11th day of October 2018, in accordance with the Federal Rules of Civil Procedure as follows:

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